Filed 8/26/24 P. v. Washington CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                       THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----



 THE PEOPLE,                                                                                   C099387

                    Plaintiff and Respondent,                                      (Super. Ct. No. 14F00282)

           v.

 JAMES WASHINGTON,

                    Defendant and Appellant.



         Defendant James Washington’s 22-year aggregate prison sentence for kidnapping
and inflicting a corporal injury on his spouse included one year for a prior prison term
enhancement. Washington later filed a petition for resentencing under Penal Code
section 1172.6,1 and included a handwritten reference to section 1172.75 on the form
petition without further elaboration.


1 Undesignated statutory references are to the Penal Code.


 Effective June 30, 2022, the Legislature renumbered former section 1170.95 to
section 1172.6. (Stats. 2022, ch. 58, § 10.) There were no substantive changes to the
statute. Although Washington filed his petition under former section 1170.95, we cite the
current section number throughout this opinion.

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       The trial court denied the section 1172.6 petition at a prima facie hearing after
finding Washington ineligible for relief as a matter of law because he was not convicted
or charged with any qualifying offenses, including murder, attempted murder, or
manslaughter. The court did not address section 1172.75.
       On appeal, Washington argues that the trial court should have considered
resentencing him under section 1172.75. In his reply brief, however, he acknowledges
that the trial court has since resentenced him under section 1172.75, which may render
his appeal moot.
       We conclude the trial court did not err in denying Washington’s resentencing
petition under section 1172.6, and that his claim regarding section 1172.75 is moot. We
shall therefore affirm the order.
                                     BACKGROUND
       The facts underlying Washington’s convictions are not relevant to the issue he
raises on appeal. Briefly summarized, during an argument Washington physically
assaulted his wife and then forced her from their home by pulling and dragging her
outside and around their neighborhood against her will; he continued to hit his wife and
threw her over a neighbor’s fence.
       A jury found Washington guilty of kidnapping (§ 207, subd. (a); count one) and
inflicting a corporal injury on a spouse (§ 273.5, subd. (a); count three), and not guilty of
making criminal threats (§ 422; count two). In a subsequent proceeding, the trial court
found that Washington had suffered a prior strike conviction for robbery (§§ 667, subds.
(b)-(i), 1170.12) and had served a prior prison term for possession of methamphetamine
for sale (§ 667.5, subd. (b)). The court sentenced him to an aggregate upper term of 22
years in state prison, including one year for the prior prison term enhancement.
       In December 2022, Washington filed a form petition for resentencing under
section 1172.6 alleging, among other things, that he had been convicted of murder,
attempted murder, or manslaughter following a trial and that he could not presently be

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convicted of murder or attempted murder because of changes made to sections 188 and
189 effective January 1, 2019, under Senate Bill No. 1437 (2017-2018 Reg. Sess.). The
petition contained several handwritten notations to “PC:1172.6-1172.75” without further
discussion.
       The People opposed the motion, arguing Washington failed to state a prima facie
case for relief under section 1172.6 because he was not convicted of murder, attempted
murder, or manslaughter and his convictions for kidnapping and inflicting corporal injury
on a spouse were not qualifying offenses. They attached the amended information and
the verdict forms. In reply, Washington argued the court should examine the court file to
determine whether the jury convicted him on a covered theory under section 1172.6; the
reply brief did not reference section 1172.75.
       At a prima facie hearing in July 2023, the parties submitted on the briefs without
further argument. The trial court denied the section 1172.6 petition, finding Washington
ineligible for relief as a matter of law because his convictions did not qualify under the
statute. The court did not address section 1172.75. Washington filed a notice of appeal
with this court in September 2023. His opening brief was filed in January 2024, and this
case was fully briefed on June 11, 2024.
                                       DISCUSSION
       Washington’s notice of appeal states that he appeals the “[d]enial of resentencing
under [section] 1172.6.” He, however, does not actually challenge the court’s ruling on
that basis. Nor could he. As the trial court properly recognized, the plain language of
section 1172.6 does not apply to convictions for kidnapping or inflicting a corporal injury
on a spouse. (See § 1172.6, subd. (a) [“[a] person convicted of felony murder or murder
under the natural and probable consequences doctrine or other theory under which malice
is imputed to a person based solely on that person’s participation in a crime, attempted
murder under the natural and probable consequences doctrine, or manslaughter may file a
petition with the court that sentenced the petitioner to have the petitioner’s murder,

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attempted murder, or manslaughter conviction vacated . . . .”].)
       Washington instead argues the trial court should have considered resentencing him
under section 1172.75 based on his handwritten notation to “section 1172.75,” which he
included without further argument or citation to authority on the form section 1172.6
petition. The People assert the trial court lacked jurisdiction to resentence Washington
pursuant to section 1172.75 because that statute does not allow defendants to file
resentencing petitions. In their view, the Secretary of the Department of Corrections and
Rehabilitation and the county correctional administrator of each county must initiate the
resentencing process under section 1172.75 by identifying those persons in their custody
currently serving a term for a judgment that includes a prior prison term enhancement
that no longer qualifies for enhanced punishment.
       Effective January 1, 2020, the Legislature amended section 667.5, subdivision (b)
to allow for imposition of the one-year prior prison term enhancement only for specified
sexual offenses. (Stats. 2019, ch. 590, § 1.) In January 2022, Senate Bill No. 483 (2021-
2022 Reg. Sess.) (Senate Bill 483) added former section 1171.1 (Stats. 2021, ch. 728,
§ 3), now renumbered to section 1172.75 (Stats. 2022, ch. 58, § 12, eff. June 30, 2022),
which provides that “[a]ny sentence enhancement that was imposed prior to January 1,
2020, pursuant to subdivision (b) of Section 667.5, except for any enhancement imposed
for a prior conviction for a sexually violent offense . . . is legally invalid.” (§ 1172.75,
subd. (a).) Senate Bill 483 established a procedure for recall and resentencing of
judgments with invalid prior prison term enhancements. (§ 1172.75, subds. (b)-(e).)
       We need not resolve the parties’ dispute over section 1172.75’s provisions because
Washington concedes that while his appeal was pending the trial court resentenced him
under the statute. The record confirms that the trial court issued a sentence recall and
initiation of resentencing under Senate Bill 483 (section 1172.75), and in May 2024,
conducted a full resentencing hearing where it not only struck Washington’s one-year



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prior prison term enhancement but also imposed the middle term, instead of the upper
term, thereby reducing his aggregate prison sentence to 15 years.
       Based on these subsequent events, we agree Washington’s challenge to the trial
court’s failure to address section 1172.75 is moot. Given the trial court’s May 2024 order
resentencing Washington under section 1172.75, there is no effective relief that we could
provide him beyond what the trial court has already provided. (People v. DeLong (2002)
101 Cal.App.4th 482, 486 [an action that originally was based on a justiciable
controversy cannot be maintained on appeal if all the questions have become moot by
subsequent acts or events]; In re N.S. (2016) 245 Cal.App.4th 53, 58-59.) Having
reached and decided another issue in this appeal, however, we will not dismiss the appeal.
Instead, we proceed to disposition without reaching the merits of Washington’s
section 1172.75 challenge.
                                      DISPOSITION
       The order denying Washington’s section 1172.6 petition is affirmed.


                                                      /s/
                                                  BOULWARE EURIE, J.

We concur:



    /s/
HULL, Acting P. J.



    /s/
WISEMAN, J.



 Retired Associate Justice of the Court of Appeal, Fifth Appellate District, assigned by
the Chief Justice pursuant to article VI, section 6 of the California Constitution.

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